           Case 2:21-cv-07925-AB-AS Document 5 Filed 11/09/21 Page 1 of 1 Page ID #:17




                                                                                                      JS-6
                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
                                                         CASE NUMBER:
Rickey Louis Alford,
                                                                         2:21-CV-07925-AB (ASx)
                                        Plaintiff,
                           v.
                                                             ORDER DENYING REQUEST TO PROCEED
Alex Villanueva, et al.,                                           WITHOUT PREPAYMENT
                                                                      OF FILING FEES
                                        Defendant(s).                AND CLOSING CASE

          On    October 5, 2021    , the Court DENIED plaintiff's request to file the action without prepayment of
the full filing fee with leave to amend. Plaintiff was advised to resubmit the Request to Proceed Without
Prepayment of Filing Fees and Complaint with a certified copy of the Trust Account Statement and
Disbursement Authorization within 30 days, and failure to do so would result in closure of the case.
          Plaintiff has failed to submit a timely response. Accordingly, the Request to Proceed without
Prepayment of Filing Fees is DENIED and the case is closed.


IT IS ORDERED.


DATED: 11/09/2021
                                                              United
                                                                   d States
                                                                     Sta
                                                                      tates District Judge




Presented by:



/ s / Alka Sagar
United States Magistrate Judge




IFP-9 (04/15)          ORDER DENYING REQUEST TO PROCEED WITHOUT PREPAYMENT OF FILING FEES AND CLOSING CASE
